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LAW OFFICES OF CHARLES EIss, P.L.

“Representing Employers and Employees.._but Not On the Same Case!"

February 10, 2020

All-Ways Towing & Storage Inc.
2550 S Park Road,
Pembroke Park, FL 33009

c/o Registered Agent

Natalie M. Adams, P.A.

1640 W. Oakland Park Blvd. #303
Fort Lauderdale, FL 33311

Re: TODDRIC KNIGHT and EVENSON BENDERS
SENT BY REGULAR AND CERTIFIED MAIL

To Whom It May Concern: ’

Please be advised this letter is written on behalf of our clients, Toddric Knight and Evenson
Benders, as required by Florida Statutes § 448.110 (Florida Minimum Wage Act, or “FMWA”) to
advise you of their intent to claim damages for your company, All-Ways Towing & Storage Inc.
(“All-Ways Towing”)’s failure to compensate them properly. Payment in full pursuant to this
statute is due within 15 calendar days of your receipt of this letter.

Mr. Knight worked for All-Ways Towing as a Tow Truck Operator from on or about December
11, 2019 to on or about January 9, 2020. During his employment with All-Ways Towing, Mr.
Knight regularly worked about seventy-two (72) hours per week, and he was to be paid $18.00 per
hour plus 30% commission for towing calls completed. Mr. Knight was also to receive $400.00
for each flooded truck taken to the yard of All-Ways Towing. During his employment with All-
Ways Towing, Mr. Knight only received two payments in case, one in the amount of $585.00, the
other in the amount of $365.00. Mr. Knight also delivered three (3) flooded trucks to the yard for
which no compensated was received. Mr. Knight therefore estimates that he is owed $5,434.00 as
a base amount, together with an additional amount representing the commissions to be determined
by records from All-Ways Towing.

Mr. Benders worked for All-Ways Towing as a Tow Truck Operator from on or about December
13, 2019 to on or about January 18, 2020. During his employment with All-Ways Towing, Mr.
Benders regularly worked about seventy-two (72) hours per week, and was to be paid 30%
commission for towing calls completed and an hourly rate for long distance towing jobs, the
amount of which was not disclosed to him. During his employment with All-Ways Towing, Mr.
Benders received total payments in the approximate amount of $500.00, in cash. Mr. Benders
therefore estimates that he is owed $5,980.00 as a base amount, and an additional amount

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representing the commissions to be determined by records from All-Ways Towing.

In addition to the unpaid wages, our clients were never compensated overtime for hours worked
over forty (40) in each work-week. Our clients therefore also intend to claim damages for overtime
violations under the Fair Labor Standard Act (“FLSA”). This claim has separate damages which
are not included in this demand letter.

A suit under the FMWA will include a claim for liquidated damages. Liquidated damages, when
awarded by the Court, are a double damages award.

Therefore, demand is hereby made for unpaid wages as specified above, an additional amount
representing the commissions to be determined by records from All-Ways Towing, together with
attorney’s fees accrued to date. The failure to make payment in full within 15 calendar days will
result in the commencement of a law suit for the full damages referenced herein.

PLEASE GOVERN YOURSELVES ACCORDINGLY

Sincerely,

/s/ Charles Eiss
Charles Eiss, Esq.
chuck@icelawfirm.com

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